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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X               10/16/2020
KENTA GABRIEL LITTLE,                                          :
                                                               :     20-CV-5431 (JPC) (RWL)
                                    Plaintiff,                 :
                                                               :     ORDER OF SERVICE
                  - against -                                  :   AND SCHEDULING ORDER
                                                               :         (PRO SE)
COMMISSIONER OF SOCIAL SECURITY,                               :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        The Clerk of Court shall notify the U.S. Attorney’s Office for the Southern District

of New York of the filing of this pro se case, brought under 42 U.S.C. § 405(g), for which

plaintiff proceeds in forma pauperis and the filing fee has been waived. Notice by the

Clerk shall constitute service, and the date of filing of this order shall be the effective date

of service. Scheduling shall proceed according to the timeline set forth the Court’s

standing or supplemental scheduling orders filed in this case.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: October 16, 2020
       New York, New York

Copies transmitted this date to all counsel of record. The Clerk’s Office is directed to mail
a copy of this order to pro se Plaintiff and note service on the docket:

        Kenta Gabriel Little
        983 Summit Ave., 4F
        Bronx, NY 10452
